            Case 2:25-cv-00241-BHS              Document 22                Filed 02/19/25           Page 1 of 4




 1                                                              THE HONORABLE BENJAMIN H. SETTLE

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9    COMMANDER EMILY SHILLING; et al.,                              No. 2:25-cv-241-BHS

10                         Plaintiffs,                               ORDER GRANTING STIPULATED
                                                                     MOTION FOR LEAVE TO FILE
11                  v.                                               OVERLENGTH BRIEFS

12    DONALD J. TRUMP, et al.,

13                         Defendants.

14
            THIS MATTER comes before the Court on the Parties’ Stipulated Motion for Leave to
15
     File Overlength Briefs, the Court having considered the pleadings and papers filed, and all other
16
     matters properly before the court,
17          IT IS HEREBY ORDERED that the Parties’ Stipulated Motion for Leave to File
18   Overlength Briefs is GRANTED and Plaintiffs may file a Motion for Preliminary Injunction not
19   to exceed 10,000 words, Defendants may file an Opposition Brief not to exceed 10,000 words,
     and Plaintiffs may file a Reply Brief not to exceed 5,000 words.
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21
     DATED this 19th day of February, 2025.
22

23
                                                        Honorable Judge Benjamin H. Settle
24                                                      United States District Court Judge
25

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            Case 2:25-cv-00241-BHS         Document 22                Filed 02/19/25           Page 2 of 4




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           Case 2:25-cv-00241-BHS         Document 22                Filed 02/19/25           Page 4 of 4




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